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 1                               UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
 2
                                      SHERMAN DIVISION
 3

 4   JEANETTE BROCK,                                     Case No.: 4:18-cv-00336-ALM
                Plaintiff,
 5

 6
                     v.                                  ELECTRONICALLY FILED

 7   CAPITAL ONE BANK (USA), N.A.,
               Defendant.
 8

 9
                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
10
            Plaintiff, Jeanette Brock (“Plaintiff”), and Defendant Capital One Bank (USA), N.A.
11

12   (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to

13   the dismissal of all of Plaintiff’s claims in this action against Defendant WITH PREJUDICE,
14
     with each party to bear its own costs and fees.
15
     JOINTLY SUBMITTED BY:
16
     Holly A. Priest (with permission)                 /s/ Jeffrey Lohman
17
     Holly Ann Priest                                  Jeffrey Lohman
18   Ballard Spahr LLP                                 The Law Offices of Jeffrey Lohman, P.C.
     1980 Festival Plaza Drive, Suite 900              4740 Green River Road, Suite 310
19   Las Vegas, NV 89135                               Corona, CA 92880
     702-471-7000                                      Tel: (714) 381-5747
20
     Fax: 702-471-7070                                 Fax: (714) 362-0096
21   Email: priesth@ballardspahr.com                   Email: JeffL@jlohman.com
     COUNSEL FOR DEFENDANT                             COUNSEL FOR PLAINTIFF
22

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      Case 4:18-cv-00336-ALM Document 25 Filed 04/05/19 Page 2 of 3 PageID #: 96



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 2
                                UNITED STATES DISTRICT COURT
 3                               EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION
 4
     JEANETTE BROCK,                                   Case No: 4:18-cv-00336-ALM
 5
               Plaintiff,
 6                                                      [PROPOSED] ORDER OF DISMISSAL
                    v.
 7
     CAPITAL ONE BANK (USA), N.A.,
 8
               Defendants.
 9

10                              [PROPOSED] ORDER OF DISMISSAL
11
            Plaintiff, Jeanette Brock (“Plaintiff”), and Defendant, Capital One Bank (USA), N.A.,
12
     (“Defendant”), having filed a Joint Notice of Settlement and the Court being otherwise
13

14   sufficiently advised,

15          IT IS HEREBY ORDERED that Plaintiff’s claim against Defendant are DISMISSED
16   with prejudice. Each party shall bear their own costs and attorney’s fees.
17

18
            SO ORDERED.
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      Case 4:18-cv-00336-ALM Document 25 Filed 04/05/19 Page 3 of 3 PageID #: 97



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 3

 4                                   CERTIFICATE OF SERVICE
 5
            I hereby certify that on the 5th day of April 2019, I electronically filed the foregoing
 6
     Stipulation of Dismissal using the CM/ECF System, which will notify all registered parties.
 7

 8
      Holly Ann Priest
 9    Ballard Spahr LLP
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10    Las Vegas, NV 89135
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      COUNSEL FOR DEFENDANT
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                                                   COUNSEL FOR PLAINTIFF
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